       CASE 0:20-cv-01497-DSD-DTS Doc. 152 Filed 09/11/24 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

 Pharmaceutical Research and                       Case No. 0:20-cv-01497-DSD-DTS
 Manufacturers of America,

                           Plaintiff,

 v.                                                  NOTICE OF HEARING ON
                                                    DEFENDANTS’MOTION TO
 Ronda Chakolis, James Bialke,                 DISMISS AMENDED COMPLAINT
 Amy Paradis, Rabih Nahas,
 Michael Haag, Ben Maisenbach,
 John M. Zwier, Barbara Droher Kline,
 and Kendra Metz, in their official
 capacities as members of the
 Minnesota Board of Pharmacy,

                           Defendants.


      PLEASE TAKE NOTICE that a hearing on Defendants’ motion to dismiss

Plaintiff’s amended complaint will take place on December 4, 2024, at 10:30 a.m., or as

soon thereafter as counsel may be heard, in Courtroom 12W of the Diana E. Murphy United

States Courthouse located at 300 South Fourth Street, Minneapolis, Minnesota 55415,

before the Honorable David S. Doty. Defendants will move the Court for an order

dismissing Plaintiff’s amended complaint. Defendants will file the supporting documents

in accordance with the Court’s procedures as stated in docket numbers 106 and 144.
            CASE 0:20-cv-01497-DSD-DTS Doc. 152 Filed 09/11/24 Page 2 of 2




Dated: September 11, 2024                Respectfully submitted,

                                         KEITH ELLISON
                                         Attorney General
                                         State of Minnesota

                                         s/Sarah L. Krans
                                         SARAH L. KRANS, No. 0338989
                                         ANGELA BEHRENS, No. 0351076
                                         KATHERINE HINDERLIE, No. 0397325
                                         RICHARD DORNFELD, No. 0401204
                                         GREG MERZ, No. 0185942
                                         Assistant Attorneys General

                                         445 Minnesota Street, Suite 1400
                                         St. Paul, Minnesota 55101-2131
                                         (651) 757-1273 (Voice)
                                         (651) 297-1235 (Fax)

                                         sarah.krans@ag.state.mn.us
                                         angela.behrens@ag.state.mn.us
                                         katherine.hinderlie@ag.state.mn.us
                                         richard.dornfeld@ag.state.mn.us
                                         greg.merz@ag.state.mn.us

                                         ATTORNEYS FOR DEFENDANTS


|#5876309




                                          2
